CM/ECF - casd                                                                         Page 1 of 3
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                                                                                  CLOSED,PROV

                                 U.S. District Court
                      Southern District of California (San Diego)
                CRIMINAL DOCKET FOR CASE #: 3:19-mj-01937-KSC-1


Case title: USA v. Jack                                    Date Filed: 05/10/2019
                                                           Date Terminated: 05/28/2019

Assigned to: Magistrate Judge Karen S.
Crawford

Defendant (1)
Robert Jack                                 represented by L. Marcel Stewart
TERMINATED: 05/28/2019                                     Law Office of L. Marcel Stewart
                                                           600 B Street
                                                           Suite 2100
                                                           San Diego, CA 92101
                                                           (619) 702-4123
                                                           Fax: (888) 810-9115
                                                           Email: lmslaw@att.net
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED
                                                           Designation: CJA Appointment

Pending Counts                                             Disposition
None

Highest Offense Level (Opening)
None

Terminated Counts                                          Disposition
None

Highest Offense Level (Terminated)
None

Complaints                                                 Disposition
                                                           Case Removed to Eastern District of
18:1343 - Wire Fraud
                                                           Michigan


Plaintiff




https://ecf.casd.uscourts.gov/cgi-bin/DktRpt.pl?71486176433035-L_1_0-1                    6/3/2019
CM/ECF - casd                                                                           Page 2 of 3
    Case 2:19-mj-30227-DUTY ECF No. 20 filed 06/03/19               PageID.63     Page 2 of 8


USA                                          represented by U S Attorney CR
                                                            U S Attorneys Office Southern District
                                                            of California
                                                            Criminal Division
                                                            880 Front Street
                                                            Room 6293
                                                            San Diego, CA 92101
                                                            (619)557-5610
                                                            Fax: (619)557-5917
                                                            Email: Efile.dkt.gc2@usdoj.gov
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: Assistant United States
                                                            Attorney


 Date Filed      #   Docket Text
 05/09/2019          Arrest of Robert Jack (no document attached) (jjg) (Entered: 05/10/2019)
 05/10/2019       1 OUT OF DISTRICT COMPLAINT as to Robert Jack. (jjg).(jah-v) Modified on
                    5/14/2019 - Copy of Complaint provided to Defense Atty L. Marcel Stewart
                    (jah). (Additional attachment(s) added on 5/23/2019: # 1 Out of District Arrest
                    Warrant, # 2 Defendant Locator Form). Modified on 5/23/2019 - Case
                    unsealed. Images added (jah). (Entered: 05/10/2019)
 05/10/2019       2 Set/Reset Duty Hearings as to Robert Jack: Initial Appearance - ODC set for
                    5/10/2019 before Magistrate Judge Karen S. Crawford. (no document attached)
                    (mxn) (Entered: 05/10/2019)
 05/10/2019       3 Minute Entry for proceedings held before Magistrate Judge Karen S. Crawford:
                    Government oral motion to unseal the case for hearing purposes only is granted.
                    Initial Appearance - Out of District Complaint as to the person charged as
                    Robert Jack held on 5/10/2019. The Court provisionally appoints attorney L.
                    Marcel Stewart(n/a) for Robert Jack. Bond set as to Robert Jack (1) $20,000 PS
                    secured by 1 FRRA and 10% cash deposit. The Court orders the case resealed.
                    ( Removal/ID Hearing set for 5/23/2019 09:30 AM before Magistrate Judge
                    Karen S. Crawford.) (CD# 5/10/2019 KSC 19-1:3:13-3:27). (Plaintiff Attorney
                    Christopher Alexander AUSA). (Defendant Attorney Marcus Bourassa FD-
                    S/A). (no document attached) (aje) (Entered: 05/13/2019)
 05/10/2019       4 ***English. No Interpreter needed as to Robert Jack (no document attached)
                    (aje) (Entered: 05/13/2019)
 05/10/2019       5 ORDER Setting Conditions of Release. Bond set for Robert Jack (1) $20,000,
                    secured by signature of 1 financially responsible adult and 10% cash deposit.
                    Signed by Magistrate Judge Karen S. Crawford on 5/10/2019. (cc: L. Marcel
                    Stewart, Pretrial) (jah) (jah-v). Modified on 5/23/2019 - Case unsealed. Pdf
                    added (jah). (Entered: 05/14/2019)
 05/14/2019       6 Bond Filed as to Robert Jack in amount of $20,000, Receipt # CAS111804.
                    Signed by Magistrate Judge Karen S. Crawford on 5/14/2019. (Document
                    applicable to USA, Robert Jack.) (cc: Pretrial) (jah) (jah-v). Modified on




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                     5/23/2019 - Case unsealed. Pdf added (jah). (Entered: 05/15/2019)
 05/14/2019       7 ABSTRACT OF ORDER Releasing Robert Jack re 6 Bond. (cc: Pretrial) (jah)
                    (jah-v). Modified on 5/23/2019 - Case unsealed. Pdf added (jah). (Entered:
                    05/15/2019)
 05/23/2019       8 Minute Entry for proceedings held before Magistrate Judge Karen S. Crawford:
                    Removal/ID Hearing as to Robert Jack held on 5/23/2019. Defendant admits ID
                    and waives hrg. Waiver filed. Government to submit Order of Removal by
                    close of business. Govt motion to unseal case is Granted. (Sealed Clerk
                    Notified) (CD# 5/23/2019 KSC 955-957; 1015-1017). (Plaintiff Attorney
                    Nicholas Hernandez AUSA). (Defendant Attorney L. Marcel Stewart CJA). (no
                    document attached) (ecs) (Entered: 05/23/2019)
 05/23/2019       9 WAIVER of Rule 5 Hearings by Robert Jack. (srm) (Entered: 05/23/2019)
 05/23/2019      10 CJA 23 Financial Affidavit by Robert Jack. (als) (Entered: 05/24/2019)
 05/28/2019      11 ORDER OF REMOVAL to District of Eastern District of Michigan as to
                    Robert Jack. Signed by Magistrate Judge Karen S. Crawford on 05/23/2019.
                    (jxv) (Entered: 05/31/2019)
 05/31/2019      12 NOTICE to Receiving District: (Eastern District of Michigan), of Case
                    Removal, as to Robert Jack. The following documents are available on the
                    public docket: 11 Order of Removal to Another District, 7 Abstract of Order, 5
                    Order Setting Conditions of Release (Pretrial Release Order), 9 Waiver of Rule
                    5 Hearings. Additional documents will be sent via Email. To request additional
                    transfer information and/or to submit acknowledgment re receipt of transfer,
                    please email InterdistrictTransfer_CASD@casd.uscourts.gov.. (jxv) (Entered:
                    05/31/2019)



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                                           06/03/2019 05:47:19
                    PACER
                                   leanneh6:4353742:0 Client Code:
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                    Description:   Docket Report
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                    Pages:




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                                         -""'"'
AO 466A (Rev. 12/09) Waiver of Rule 5 & 5.1 Hearings (Complaint or Indictment)

                                                                                                                                ..; 2019
                                       UNITED STATES DISTRICT COURT
                                                                         for the                              CLERK U.S CHSTRJCT COURT
                                                         Southern District of California                    SOUTHERlLllSt1C"l 0~ CAL!FO. RN!). .
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                  United States of America                                 )                                             "'
                                                                           )
                             v.
                                                                           )
                                                                                   Case No.    l '\ M -S \ '\ 3 1
   eo     \o~ .\-       :r.:te,..\(.
                            Defendant
                                                                           )
                                                                           )
                                                                           )
                                                                                   Charging District's Case No.


                                                  WAIVER OF RULE 5 & 5.1 HEARINGS
                                                      (Complaint or Indictment)
                                                                                                               e   A   s+u.... D\ ~-1v, ~
          I understand that I have been charged in another district, the            (name of other court)      of Y'VtcJ..i~~.,                    [3
          I have been informed of the charges and of my rights to:
          ( 1)      retain counsel or request the assignment of counsel if I am unable to retain counsel;
          (2)       an identity hearing to determine whether I am the person named in the charges;
          (3)       production of the warrant, a certified copy of the warrant, or a reliable electronic copy of either;
          (4)       a preliminary hearing within 14 days of my first apJ?earance ifl am in custody and 21 days otherwise -
                    unless I am mdicted - to determine whether there ts probable cause to believe that an offense has
                    been committed;
          (5)       a hearing on any motion by the government for detention;
          (6)       request transfer of the proceedings to this district under Fed. R. Crim. P. 20, to plead guilty.

          I agree to waive my right(s) to:
           fV'       an identity hearing and production of the warrant.
           rV        a preliminary hearing.
           r         a detention hearing.
           I         an identity hearing, production of the warrant, and any preliminary or detention hearing to which I may
                     be entitled in this district. I request that those hearings be held in the prosecuting district, at a time set
                     by that court.

       I consent to the issuance of an order requiring my appearance in the prosecuting district where the charges are
pending against me.


Date:            s/t:s /t°t
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.\U !lJ<l,\ !Rev 05.IJJ.:0181 Order Setting Cond1t10ns ofReledse (C,,!od1fied1


                                          UNITED STATES DISTRICT COURT
                                                                           for the
                                                                Southern District of California

                        United States of America
                                          v.                                                                 v         -   "




                                               -::(o...c~                                         Case No. l9MJ   ~f~11-
                                     Defendant
                                                         PRETRIAL RELEASE ORDER
IT IS ORDERED that the defendant" s release is subject to these conditions:
                                                                     Mandatory Conditions
                                                                                                         c: ~S'&
                                                                                                                 SIALEO:
                                                                                                                    t..VV\ Se~       LE..D
(I)     The defendant must not violate federal. state. or local law during the period of rel ase.
(2)     The defendant must cooperate in the collection of a DNA sample as authorized b 42 U.S.C.                       ~       14 I 35a.
                                                            Standard Conditions
                                               (Each Standard Condition applies, unless stricken.)
(3)     The defendant must appear in court as ordered and surrender as directed to serve ny sentence.
(4)     The defendant must not possess or attempt to possess a firearm. destructive devic . or other dangerous
        weapon. The defendant must legally transfer all firearms. as directed by Pretrial ervices.
(5)     The defendant must not use or possess a narcotic drug or other controlled substanqe without a lawful medical
        prescription. The defendant must not use or possess marijuana under any circumstances.
(6)     The defendant must report to the U.S. Pretrial Services Office (telephone (619) 5 sl7-5 738) on the day of the
        initial court appearance or within 24 hours of the defendant's release from custod~. whichever is later.
        Throughout this case. the defendant must report as directed by the Pretrial Service~ Office and follo\<v all
        directions of the Pretrial Services Office.
(7)     The defendant must advise the Court or the Pretrial Services Office in writing of: (l) the defendant's current
        residence address and phone number. when first reporting to Pretrial Services: and (2) any new contact
        information. before making any change of residence or phone number.
(8)     The defendant must read this Pretrial Release Order and the .. Advice of Penalties and Sanctions.. form. or
        have them read to the defendant in the defendant's native language. The defendant must acknowledge the
        defendant's understanding of all the pretrial release conditions and the penalties and sanctions for any
        violations. by signing the .. Advice of Penalties ?rtd Sanctions.. form.
(9)     Restrict travel to: ~ S;d}Diego County          ~ lmperial County         D State of California
                             Cl?'CDCA ~-Orange. Rinyide. SttH QsrRaniiRs. ~.LO .. Santa Bttrbttra. VsRtura)
                             IZJ Do not enter Mexico       rl? Other Travel Restriction: frn'-:z..o~ "-/ /1rlhd~
                                                                      Additional Conditions
(10) Ll/a) The defendant is released on personal recognizance.
         rJi (b)The defendant must execute an appearance bond in the amount of$             7-t!l1 d(?t/ ___. that is:
             LJ )-{nsecured.
             lifSecured. as set forth below. The Court finds that an unsecured bond will not reasonablv assure the
               defendant" s .arance as required)!!l~or will endanger the safety of another person o; the community.
                Security: MT.he ttr-signatures of_U_) financially respon 'i le (and related) adults or                  .
                                  utA
                                 cash deposit with the Court of$        tJ                 .
                           D A trust deed to the United States on real property approved by a federal judge.
                           D A cash bond and/or a bail bond by an approved. solvent corporate surety. A corporate
                              bail bond must cover all conditions of release. not just appearances.
                           D Other:
                 Hearing: LJ Surety examination        D Nebbia hearing (bail source hearing)
( 11) ::::J 18 U .S.C. ~ 3 l 42(d) hold until _ _ _ _ _ : if no detainer is lodged by then. these conditions take effect.
               Case
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A.U l cJcJA I Rev . 5. 03 2Li l 8) Order Settmg Cond1tton' of Relea'e ( l\lod1f1ed)                                      Page 2 of2




         ~
(12)              efendant    must:
               I a)     actively seek or co,tl'tinue full-time employment or schooling. or a combination of both.
               (b)      reside with               r:i')
                                       ( }"family member. surety. or                                                   . or
                                       CV'f at a residence approved by the Pretrial Services Office, itrciading ttli). co~
         L     ( c)
                                                f~
                        surrender any valid passport to the Pretrial Services Office and not obtain a passport or other
                        international travel document.
         D (d)          clear all warrants/FT As and pay all fines "" ithin 90 days of release or as directed by the Pretrial
                        Services Office.
         D     (e)      submit to psychological/psychiatric treatment at Pretrial Services· discretion.
         D     (t)      submit to drug/alcohol testing no more than __ times per month and/or outpatient substance abuse
                        therapy and counseling. as directed by the Pretrial Services Office. Testing may include urine
                        testing. the \Vearing of a sweat patch. a remote alcohol testing system. and/or any form of prohibited
                        substance screening or testing. Pretrial Services need not notify the Court of test results attributed to
                        residual elimination.
         0     (g)      not use alcohol at all.
         0 (h)          not have a blood alcohol content ( BAC) of .08% or more.
         0 (i)          participate in and complete a program of inpatient substance abuse therapy and counseling. as
                        directed by the Pretrial Services Office.
         D (j)          avoid all contact. directly or indirectly. with any person who is or may be a victim or witness in the
                        investigation or prosecution. including:
         D     (k)      participate in the Location Monitoring Program and comply with its requirements as directed under
                        the following component and technology:
                        D (i) Curfew. You are restricted to your residence (0) every day from                        to ____
                                   or ( D) as directed by the pretrial services office or supervising officer.
                         D (ii) Home Detention. You are restricted to your residence at all times except for Pretrial
                                   Services-approved absences for: employment: education: religious services: medicaL
                                   substance abuse. or mental health treatment: attorney visits: court appearances: Court-
                                   ordered obligations: or other activities.
                         D (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-dov.n at your residence
                                   except for Court-approved absences for medical necessities. court appearances. or other
                                   activities.
                             Technology: D Global Positioning System (GPS) D Radio Frequency 0 Voice Recognition
                         D You must pay all or part of the cost of the program based on your ability to pay as determined
                             by the pretrial services officer.
                         D Defense counsel must notify Pretrial Services upon submission of bond paperwork: defendant to
                             be released from custody to Pretrial Services the following business day by 10:00 a.m. and
                             Pretrial Services to transport if needed.
         CJ    (!)      return to custody each                  at           AM/PM after being released at               AM/PM
                        for employment. schooling. or the following purposes:
         ::::::J (m)     maintain residence at a halfway house. community corrections center. or residential facility. as the
                         Pretrial Services Office or supervising officer considers necessary.
         0     (n)       remain in the custody of                                          . who will supervise the defendant and
                         notit) the Court immediately if the defendant violates any conditions of release.
         D     (o)       Adam Walsh Act: See attached Addendum for additional conditions.
          D    (p)       Other conditions: - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

(13) D         All conditions previously set will remain the same.
                        Dated:          ~/J~/ 1 j                                                            -·-~-c~-
                                                                                      Hon able Karen S. Crawford
                                                                                      United States Magistrate Judge
              Case
              Case2:19-mj-30227-DUTY
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                                     UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF CALIFORNIA


          UNITED STATES OF AMERICA         )              CASE NUMBER
                                           )
                           VS              )              ABSTRACT OF ORDER
                                           )
                                           )              Booking No.     7   f I       L/ (j J f l)
                                           )
                                           )
                                           )
 TO THE UNITED STATES MARSHAL AND I OR WARDEN, METROPOLITAN CORRECTIONAL CENTER:
           Be advised that under date of             ~ / / '-!    I ,
 the Court entered the following order:



               /
 _ _ _ _ _ _ _ Defendant be released from custody.

 _ _ _ _ _ _ _ Defendant placed on supervised I unsupervised probation I supervised release.                          c
                                                                                                                      (./)
 _ _ _ _ _ _ _ Defendant continued on supervised I unsupervised probation I supervised release. '--
                                                                                                               ::x
                                                                                                               >
                                                                                                              -<


 - - - - - - - Defendant appeared in Court. FINGERPRINT & RELEASE.                                                   •U>-:::J
                                                                                                                         .ri
                                                                                                              •._        I

 - - - - - - - Defendant remanded and ( _ _ _ _ bond) ( _ _ _ _ bond on appeal) exon~rated~
                                                                                                                     c
 - - - - - - - Defendant sentenced to TIME SERVED, supervised release for _ _ _ years.                               1>

 - - - - - - - Bench Warrant Recalled.
 _ _ _ _ _ _ _ Defendant forfeited collateral.

 - - - - - - - Case dismissed.

 - - - - - - - Case dismissed, charges pending in case no. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

 - - - - - - - Defendant to be released to Pretrial Services for electronic monitoring.

 _ _ _ _ _ _ _ Othe~-------------------------------
                                                                         KAREN S. CRAWFORD
                                                                        U.S. MAGISTRATE JUDGE
                                                            UNITED STATES DISTRICT/MAGISTRATE JUDGE

                                                                                            OR
  Received _ _ _ _ _ _ _ _ _ __
                                                             JOHN MORRILL                          Clerk
                         DUSM
                                                             by    L S. / •r,       '     .Jr ]
                                                                                        Deputy Clerk

 Crim-9    (Rev. 8-11)                                                                                 * U.S. GPO: 1996-783·398/40151


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 3
 4
 5                                 UNITED STATES DISTRICT COURT

 6                                SOUTHERN DISTRICT OF CALIFORNIA

 7
      UNITED STATES OF AMERICA,                               Magistrate Case No. 19MJ1937
 8
 9                   Plaintiff,                               ORDER OF REMOVAL
                                                              (Defendant Not In Custody)
10           v.
11    ROBERT JACK,
12                  Defendant.
13
14          A complaint having been filed in the Eastern District of Michigan, charging defendant ROBERT

15 JACK with wire fraud, in violation of Title 18, United States Code, Section 1343. Defendant ROBERT
16 JACK was arrested on May 9, 2019 in the Southern District ofCalifo~, pursuant to the out of district
17   arrest warrant related to said complaint. Defendant ROBERT JACK then posted a criminal bond and
18   waived an identity hearing pursuant to Rule 5(c) of the Federal Rules of Criminal Procedure. Therefore,

19          IT IS HEREBY ORDERED that defendant ROBERT JACK, appear before the Duty Magistrate,

20 in the Eastern District of Michigan, Theodore Levin U.S. Courthouse, located at 231 W. Lafayette Blvd.,

21   Room 694, Detroit, Michigan, on Thursday, June 13, 2019, at    l:~_rJ_l.·::~~',. - proceedings.
22          DATED:     ~ / z.::; /L c;                                V~tY . .
23                                                                   ~::::::::;,,_,,.Oi-;Nf-..r--RE-N_S_.-:-C_,,_RA~W-'F=O,_RD_

                                                                                 United States Magistrate Judge
24
                                                                                 Southern District of California
25
26
27
28
